           Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 1 of 7




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                                        November 20, 2020



Via ECF

The Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York
40 Foley Square, Room 1050
New York, NY 10007

       Re:      In re GreenSky Securities Litigation, 18 Civ. 11071 (AKH)

Dear Judge Hellerstein:

        We are Co-Lead Counsel for Lead Plaintiffs Northeast Carpenters Annuity Fund, El Paso
Firemen & Policemen’s Pension Fund, and the Employees’ Retirement System of the City of Baton
Rouge and Parish of East Baton Rouge in the above-referenced action. We write on behalf of the
parties1 pursuant to the Court’s Order dated September 17, 2020 (ECF No. 160) (the “September
17 Order”), which instructed the parties, on or before November 20, 2020, to “submit to the Court
their respective deposition plans, including an explanation of the appropriateness of each proposed
deposition.” Plaintiffs’ and Defendants’ positions are set forth in Parts I and II, respectively.

           I.   Plaintiffs’ Position

        Lead Plaintiffs’ review of Defendants’ documents is ongoing. Notwithstanding, Lead
Plaintiffs have identified the following potential deponents, but reserve the right to modify this list
(both as to the names of the deponents and the basis for their depositions) as we complete our
review of documents. Mindful of the Court’s direction, Lead Plaintiffs have significantly reduced


       1
         Defendants in this action are GreenSky, Inc. (“GreenSky,” “GSKY,” or the “Company”),
David Zalik, Robert Partlow, Joel Babbit, Gerald Benjamin, John Flynn, Gregg Freishtat, Nigel
Morris, Robert Sheft, Goldman Sachs & Co. LLC (“GS”), J.P. Morgan Securities LLC (“JPM”),
Morgan Stanley & Co. LLC, Citigroup Global Markets Inc., Credit Suisse Securities (USA) LLC,
Merrill Lynch, Pierce, Fenner & Smith Inc., Truist Securities, Inc., Raymond James & Associates,
Inc., Sandler O’Neill & Partners, L.P., Fifth Third Securities, Inc., and Guggenheim Securities,
LLC.
        Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 2 of 7




The Honorable Alvin K. Hellerstein
November 20, 2020
Page 2


the number of potential deponents from the number proposed by letter to the Court on September
16, 2020 (ECF No. 159). However, given the number of potential deponents set forth below and
based on our review of the documents, Lead Plaintiffs believe we will almost certainly seek leave
of the Court to increase the number of depositions to more than 10, pursuant to Fed. R. Civ. P.
30(a)(2)(A)(i).

      Deponent             Title and basis for deposition                              Employer
  1   David Zalik          Co-founder, CEO, and Chairman of the Board of               GSKY
                           Directors
                           (Individual Defendant)
                           Mr. Zalik was involved daily in all aspects of
                           GreenSky’s business, involved in the decision to de-
                           emphasize solar, and aware of all trends in transaction
                           fee rate and transaction volume. Mr. Zalik was also
                           intimately involved in all discussions with underwriters,
                           equity analysts, and other external parties.
  2   Gerald Benjamin      Director, Vice Chairman                                     GSKY
                           (Individual Defendant)
                           Mr. Benjamin was involved daily in all aspects of
                           GreenSky’s business, involved in the decision to de-
                           emphasize solar, and aware of all trends in transaction
                           fee rate and transaction volume. Mr. Benjamin was also
                           intimately involved in all discussions with underwriters,
                           equity analysts, and other external parties.
  3   Robert Partlow       CFO                                                         GSKY
                           (Individual Defendant)
                           Mr. Partlow participated in numerous conversations
                           regarding the rapid decline of the solar business and its
                           consequent impact on transaction volume and revenue.
                           Additionally, Mr. Partlow possesses an in-depth
                           knowledge of the interplay between transaction volume
                           and product mix and opined on the same frequently
                           throughout the relevant time period.
  4   Tim Kaliban          President & Chief Risk Officer                              GSKY
                           Mr. Kaliban played an integral role in formulating
                           GreenSky’s messaging to analysts regarding the trade-
                           offs between APR and transaction fees, providing
                           proposed language attributing the decline in
                           transaction fee rate to a shift in product mix.
        Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 3 of 7




The Honorable Alvin K. Hellerstein
November 20, 2020
Page 3


      Deponent            Title and basis for deposition                            Employer
  5   Rebecca Gardy       Senior Vice President of Investor Relations               GSKY
                          Ms. Gardy drafted scripts for analyst calls, and often
                          answered analysts’ questions regarding GreenSky’s
                          transaction fee rate and transaction volumes.
  6   Richard Awbrey      VP Finance / Director, Financial Planning & Analysis      GSKY
                          Mr. Awbrey assisted in analyzing GreenSky’s financial
                          performance against its internal forecasts and assisted
                          in preparing external models.
  7   John Flynn          Director                                                  GSKY
                          (Individual Defendant)
  8   Gregg Freishtat     Director                                                  GSKY
                          (Individual Defendant)
  9   Nigel Morris        Director                                                  GSKY
                          (Individual Defendant)
 10   Robert Sheft        Director                                                  GSKY
                          (Individual Defendant)
 11   Joel Babbit         Director                                                  GSKY
                          (Individual Defendant)
 12   Brandon Watkins     Vice President, Head of Internet Finance, Investment      GS
                          Banking Division, Goldman Sachs
                          Mr. Watkins was the Goldman Sachs team lead for the
                          IPO. Consequently, he was in frequent communication
                          with GreenSky executives and oversaw all due diligence
                          conducted by Goldman Sachs. Further, Mr. Watkins
                          was aware of how GreenSky’s decision to exit the solar
                          business negatively impacted GreenSky’s prospects for
                          achieving growth in its home improvement vertical. He
                          also helped draft the language that omitted these facts
                          from the Company’s registration statement.
        Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 4 of 7




The Honorable Alvin K. Hellerstein
November 20, 2020
Page 4


      Deponent            Title and basis for deposition                            Employer
 13   Tim Wicket          Investment Banking Division, Industry Group,              GS
                          Goldman Sachs
                          Mr. Wicket was Goldman Sachs’s secondary team lead
                          for the IPO. Consequently, he was in frequent
                          communication with GreenSky executives and oversaw
                          all due diligence conducted by Goldman Sachs.
                          Further, Mr. Wicket was aware of how GreenSky’s
                          decision to exit the solar business negatively impacted
                          GreenSky’s prospects for achieving growth in its home
                          improvement vertical. He also helped draft the
                          language that omitted these facts from the Company’s
                          registration statement.
 14   Clayton Robinson    Executive Director, Investment Banking Division,          JPM
                          Financial Institutions Group, JPMorgan
                          Mr. Robinson was JPMorgan’s team lead for the IPO.
                          Consequently, he was in frequent communication with
                          GreenSky executives and oversaw all due diligence
                          conducted by JPMorgan. Further, Mr. Robinson was
                          aware of how GreenSky’s decision to exit the solar
                          business negatively impacted GreenSky’s prospects for
                          achieving growth in its home improvement vertical. He
                          also helped draft the language that omitted these facts
                          from the Company’s registration statement.
 15   Harshit Kandpal     Investment Banking Division, Financial Institutions       JPM
                          Group
                          Mr. Kandpal appears to have been JPMorgan’s
                          secondary team lead for the IPO. Consequently, he was
                          in frequent communication with GreenSky executives
                          and was aware of how GreenSky’s decision to exit the
                          solar business negatively impacted GreenSky’s
                          prospects for achieving growth in its home
                          improvement vertical. Further, Mr. Kandpal helped
                          draft the language that omitted these facts from the
                          Company’s registration statement. Also, he possesses
                          an in-depth understanding of GreenSky’s budgets,
                          financials, and financial models shared with investment
                          analysts throughout the IPO process.
        Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 5 of 7




The Honorable Alvin K. Hellerstein
November 20, 2020
Page 5


      Deponent            Title and basis for deposition                            Employer
 16   Alexander Rienzie   Investment Banking Division, Financial Institutions       JPM
                          Group
                          Mr. Rienzie possesses an in-depth understanding of
                          GreenSky’s financials and was involved in strategy
                          discussions with GreenSky and other underwriters
                          regarding the Company’s IPO.
 17   Tim Wolfe           Managing Director, FT Partners                            FT Partners
                          For several years prior to GreenSky selecting             (nonparty)
                          JPMorgan and Goldman Sachs as its lead IPO
                          underwriters, FTP was GreenSky’s primary investment
                          bank. Consequently, FTP likely provided financial
                          advisory services to GreenSky in connection with the
                          IPO. Further, prior to and throughout the IPO process,
                          Mr. Wolfe communicated with GreenSky executives
                          almost daily and was intimately aware of GreenSky’s
                          financial performance and challenges, including the
                          knowledge that GreenSky’s decision to exit the solar
                          business had an immediate negative impact on its
                          growth.
 18   Dan D’Amico         Associate, FT Partners                                    FT Partners
                          Mr. D’Amico has an in-depth understanding of              (nonparty)
                          GreenSky’s solar portfolio and its historical
                          performance. Mr. D’Amico also has knowledge of
                          GreenSky’s strategy for reducing its solar business and
                          appears to have been primarily responsible for helping
                          GreenSky develop its budgets, financial models, and
                          forecasts prior to, and throughout, the IPO process.
           Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 6 of 7




The Honorable Alvin K. Hellerstein
November 20, 2020
Page 6


           II.   Defendants’ Position

         This Court previously instructed the parties to prepare a deposition plan that was not
“exhaustive”, but rather designed to “elucidate the [parties’] respective positions”, so as to
“economize”. (Sept. 16, 2020 Tr. 12:18-13:6 (ECF No. 161).) The Court was clear: “I’m going
to restrict your numbers to something that is reasonable, fewer than ten by the plaintiffs and fewer
than seven by the defendants”. (Id. at Tr. 13:24-14:1.) Any additional depositions would be taken
“only if the other side wishes to call them as actual witnesses” at trial. (Id. at 12:25-13:4 (emphasis
added).)

       Consistent with the Court’s directive, Defendants intend to depose the following six entities
(one fewer than the Court indicated is allowed):

                     Deponent                                 Basis for Deposition
       Northeast Carpenters Annuity Fund             Lead Plaintiff
       El Paso Firemen & Policemen’s Pension         Lead Plaintiff
       Fund
       City of Baton Rouge and Parish of East        Lead Plaintiff
       Baton Rouge
                                                     Investment Manager2 for Northeast
       TimesSquare Capital Management
                                                     Carpenters Annuity Fund
                                                     Investment Manager for El Paso
       Hood River Capital Management
                                                     Firemen & Policemen’s Pension Fund
                                                     Investment Manager for City of Baton
       William Blair & Co.
                                                     Rouge and Parish of East Baton Rouge

        Plaintiffs, in contrast, have identified 18 deponents — at least double the number allowed
by the Court. (Id. Tr. 13:24-14:1.) Far from being “mindful”, Plaintiffs’ deposition plan disregards
the Court’s clear parameters for depositions in this case, violates the Federal Rules and would
impose undue and unnecessary burden. Defendants oppose the request and believe, instead, that
Plaintiffs should have to identify “fewer than ten” deponents as this Court previously instructed.
(Id.)




       2
          Plaintiffs have represented that each of the investment managers made the ultimate
decision to invest in GreenSky securities on the respective Lead Plaintiff’s behalf.
         Case 1:18-cv-11071-AKH Document 169 Filed 11/20/20 Page 7 of 7




The Honorable Alvin K. Hellerstein
November 20, 2020
Page 7


       III.    Remote Deposition Protocol

        Finally, given the ongoing pandemic, the parties anticipate that many of these depositions
will need to be conducted remotely. The parties have agreed to submit a remote deposition protocol
for the Court’s approval within 14 days of the December 7, 2020 status conference.

       We look forward to our conference with the Court.

                                             Respectfully submitted,

                                             /s/ Steven J. Toll
                                             Steven J. Toll

cc: All counsel of record (via ECF)
